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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )       Criminal No. 1:22-cr-00200-APM
                      v.                         )
                                                 )
          PETER K. NAVARRO,                      )
                                                 )
                 Defendant.                      )
                                                 )

                         DR. PETER K. NAVARRO’S REPLY IN
                      SUPPORT OF HIS MOTION FOR NEW TRIAL

       Of course, the Court will recall government counsel’s unequivocal observation after the

jury had returned its verdict: counsel had just entered the courthouse through John Marshall

Park and saw no protestors or other activity that could have influenced the jury that had just

provided their long-sought conviction of Defendant Dr. Peter K. Navarro. The government’s

misconception is consistent with their entire view of this prosecution – never before has a senior

presidential advisor been charged – let alone convicted – of contempt of congress.

       In its opposition, the government attempts to portray Dr. Navarro’s concern that he was

wrongfully associated with January 6, 2021, participants as wholly misplaced, quoting defense

counsel in closing. See Govt. Opp., at 5 (Oct. 27, 2023) (ECF 143). Indeed, defense counsel’s

efforts to distance Dr. Navarro’s connection to the events of January 6 were necessitated by the

government’s mischaracterization of Dr. Navarro’s role – or lack thereof – in the events of that

day. As the Court is aware, the jury was exposed, by the government, to the suggestion that Dr.

Navarro was somehow associated with the events of January 6, through government witnesses

that referenced the Select Committee’s purpose as investigating, “domestic terrorism”; in

response, the Court rightfully warned the government about exposing the jury to further
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potentially inflammatory language. See Tierney Sneed and Devan Cole, Prosecutors say former

Trump adviser Peter Navarro ‘acted as if he is above the law’ as trial begins, CNN,

https://www.cnn.com/2023/09/06/politics/peter-navarro-contempt-trial/index.html (last updated

Sep. 6, 2023) (“After the jury left the room. . . [Judge] Mehta asked both sides if they would be

presenting any other evidence that includes similar language, saying that he’s concerned about

the jury hearing ‘words that are potentially inflammatory’ that relate to the case at hand but are

not central to it, so that they can sort out a solution ahead of time.”).

        Therefore, the government’s purported “threshold matter,” that protestors either in

support or against, “the insurrectionists,” could not have influenced the jury, is fundamentally

flawed. Pivoting from this unsubstantiated assertion, the government instead endeavors to

diminish the persuasiveness of the authority relied upon by Dr. Navarro. For example, the

government generally objects to Dr. Navarro’s reliance on United States v. Crews, 856 F.3d 91

(D.C. Cir. 2017), as a basis for the standard of a mistrial based upon highly prejudicial material.

Govt. Opp., at 5-6 (Oct. 27, 2023) (ECF No. 143). Apparently failing to complete its thought,

the government suggests that the Crews’s court’s reference to graphic descriptions of an injury to

the defendant’s co-conspirator makes Dr. Navarro’s reliance on Crews irrelevant. See Govt.

Opp., at 5-6 (Oct. 27, 2023) (ECF No. 143). This attempt at distinction is irrelevant. The Crews

court specifically notes the factors to be considered when considering a motion for a mistrial

based on the presentation of potentially prejudicial information outside of the record. See Crews,

856 F.3d at 96. (“A mistrial is warranted if inadmissible evidence is erroneously presented to the

jury that is so highly prejudicial that the jury cannot reasonably be expected to ignore it[.] [W]e

must therefore determine the extent to which the defendant was unfairly prejudiced. To that end,

we consider a number of factors, including the force of the unfairly prejudicial evidence, whether



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that force was mitigated by curative instructions, and the weight of the admissible evidence that

supports the verdict.” (internal citations and quotation marks omitted) (quoting United States v.

McLendon, 378 F.3d 1109, 1112 (D.C. Cir. 2004)).

       Dr. Navarro’s case involves materials outside of evidence which associate Dr. Navarro

with polarizing groups and figures, which were presented to the jury during the deliberation

process despite not being admitted at trial, and which would likely not have been admissible

based on its lack of relevance and high potential for prejudice against Dr. Navarro. This means

that the Crews factors should be considered by the Court. That Dr. Navarro’s case deals with

protestors and signs rather than a deceased co-defendant does not change the fact that the

standard from Crews is the appropriate standard to be applied here.

       Next, the government protests Dr. Navarro’s reliance on United States v. Campbell, 684

F.2d 141 (D.C. Cir. 1982), for the definition of “extraneous influence” upon which a Court may

base a mistrial if a jury relied upon. Govt. Opp., at 6 (Oct. 27, 2023) (ECF 143). Once again,

the government fails to complete its thought, as it cites the exact language cited by Dr. Navarro

before asserting that the record does not show that the jury, “discussed publicity, considered

evidence not admitted, or had communication or other contact with third persons or the trial

judge.” Compare Govt. Opp., at 6 (Oct. 27, 2023) (ECF No. 143), with Motion for New Trial, at

7-8, (Oct. 6, 2023) (ECF No. 138). However, the government leaves out one important sentence

from Campbell (and Dr. Navarro’s Rule 33 Motion): “The single exception concerns ‘extraneous

influences’ that may have improperly influenced the verdict.” Motion for New Trial, at 7 (Oct.

6, 2023) (ECF No. 138) (emphasis added) (quoting Campbell, 684 F.2d at 151). Dr. Navarro

need not demonstrate that the jury did in fact rely upon extraneous influence, but rather does

demonstrate that the jury was exposed to extraneous influence at a critical point in the



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deliberative process such that would warrant a mistrial through evidence not admitted (and

potentially communication or other contact with third persons) such that it may have influenced

their verdict such that would warrant a mistrial.

       The government also claims that because the jurors in United States v. Concepcion Cueto,

515 F.2d 160 (1st Cir. 1975), read articles specifically about the specific defendant and his

involvement with certain criminal groups and acknowledged discussing it with other jurors, that

Dr. Navarro’s situation is wholly distinguishable. See Govt. Opp., at 6 (Oct. 27, 2023) (ECF No.

143) (citing Concepcion Cueto, 515 F.2d at 164). However, the government fails to address that

the Court in Dr. Navarro’s case was unable to interview jurors about whether they were

influenced by potentially prejudicial information prior to their verdict; in Concepcion Cueto the

judge was able to poll the jurors and inform those who had read prejudicial outside material to

remain “fair and impartial juror[s].” See Concepcion Cueto, 515 F.2d at 163. Even after all

jurors in Concepcion Cueto affirmed they would remain impartial, the judgment was still

vacated. See id. at 164. Similarly, the Court in Concepcion Cueto notes that material about

potential association with certain groups, “possess[] capacity for prejudice.” See Concepcion

Cueto, 515 F.2d at 163 n.4 (citing United States v. Solomon, 422 F.2d 1110 (7th Cir. 1970), for

the assertion that, “linking [defendant] with organized crime improper, though not ‘prejudicial

per se’”). Further still, the government suggests without support that even in a situation like

Concepcion Cueto where potentially prejudicial material was exposed to the jury at a vital time

in the process, a curative instruction will always prevent a mistrial. See Govt. Opp., at 5-6 (Oct.

27, 2023) (ECF 143). However, the Court in Concepcion Cueto notes that is not the case. See

Concepcion Cueto, 515 F.2d at 164 (“This is not to say that such further instructions would

always be curative; but in a marginal case their presence could help to remedy and confine the



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prejudice.”). Ultimately in Concepcion Cueto, the finding of a mistrial did not come down to

whether the jurors actually considered prejudicial materials when reaching their verdict, but (as

noted in Dr. Navarro’s motion), where, “the content and timing of the material went beyond

anything [the Court] feel[s] able to assume the average juror could withstand. It also went

beyond anything the defendant should be forced to accept.” (citing Marshall v. United States,

360 U.S. 310 (1959)).

       The timing of the jurors’ exposure to prejudicial information in Concepcion Cueto is just

as troublesome as in Dr. Navarro’s case, as the jurors were exposed to material which the Court

itself highlighted as inflammatory earlier in the trial after both sides had rested while jury

deliberations were ongoing. Accordingly, a new trial is warranted.

                                [SIGNATURE ON NEXT PAGE]




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Dated: November 3, 2023            Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE
        On November 3, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.




                                              Respectfully submitted,

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